      Case 1:20-cv-00123-DLC Document 42 Filed 07/10/20 Page 1 of 15




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


SAMANTHA BARBASH,

                 Plaintiff,
                                            Case No. 20-cv-00123-DLC
     vs.

STX FINANCING, LLC (dba STX
ENTERTAINMENT), et al.,

                 Defendants.




                DEFENDANTS’ REPLY IN SUPPORT OF THEIR
           MOTION TO DISMISS PLAINTIFF’S AMENDED COMPLAINT




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                                  Productions, Inc., and Pole Sisters LLC
            Case 1:20-cv-00123-DLC Document 42 Filed 07/10/20 Page 2 of 15




                                                   TABLE OF CONTENTS

TABLE OF AUTHORITIES .......................................................................................................... ii

PRELIMINARY STATEMENT .....................................................................................................1

I.        PLAINTIFF’S SECTION 51 CLAIMS FAIL AS A MATTER OF LAW .........................1

          A.         Defendants Do Not Use A “Recognizable Likeness” Of Plaintiff ..........................1

          B.         Hustlers Is A Work Of Fiction And Thus Not Within Section 51’s
                     Reach........................................................................................................................3

          C.         The Newsworthiness Exception Applies To Hustlers .............................................4

II.       PLAINTIFF’S DEFAMATION CLAIM FAILS AS A MATTER OF LAW .....................5

CONCLUSION ..............................................................................................................................10




                                                                        i
            Case 1:20-cv-00123-DLC Document 42 Filed 07/10/20 Page 3 of 15




                                               TABLE OF AUTHORITIES

                                                                                                                               Page(s)

Cases

In re Actos End-Payor Antitrust Litigation,
    848 F.3d 89 (2d Cir. 2017).......................................................................................................10

Ali v. Playgirl, Inc.,
    447 F. Supp. 723 (S.D.N.Y. 1978) ............................................................................................2

Allen v. National Video, Inc.,
    610 F. Supp. 612 (S.D.N.Y. 1985) ............................................................................................2

Ashcroft v. Iqbal,
   556 U.S. 662 (2009) ...................................................................................................................9

AT&T Corp. v. Syniverse Technologies, Inc.,
  2014 U.S. Dist. LEXIS 125256 (S.D.N.Y. Sep. 8, 2014) ..........................................................6

Birkenfeld v. UBS AG,
    72 A.D.3d 566 (1st Dep’t 2019) ................................................................................................7

Biro v. Condé Nast,
   807 F.3d 541 (2d Cir. 2015).......................................................................................................7

Burck v. Mars, Inc.,
   571 F. Supp. 2d 446 (S.D.N.Y. 2008)........................................................................................3

Chapadeau v. Utica Observer-Dispatch, Inc.,
   38 N.Y.2d 196 (1975) ............................................................................................................8, 9

Chau v. Lewis,
   771 F.3d 118 (2d Cir. 2014).......................................................................................................6

Costanza v. Seinfeld,
   279 A.D.2d 255 (1st Dep’t 2001) ..............................................................................................3

Feche v. Viacom International, Inc.,
   233 A.D.2d 125 (1st Dep’t 1996) ..............................................................................................6

Frascatore v. Blake,
   344 F. Supp. 3d 481 (S.D.N.Y. 2018)........................................................................................7

Gertz v. Robert Welch Inc.,
   418 U.S. 323 (1974) ...................................................................................................................7



                                                                    ii
             Case 1:20-cv-00123-DLC Document 42 Filed 07/10/20 Page 4 of 15




Goldman v. Reddington,
   417 F. Supp. 3d 163 (E.D.N.Y. 2019) .......................................................................................9

Greene v. Paramount Pictures Corp.,
   138 F. Supp. 3d 226 (E.D.N.Y. 2015) ...................................................................................1, 8

Greene v. Paramount Pictures Corp.,
   340 F. Supp. 3d 161, 169 (E.D.N.Y. 2018) ...............................................................................8

Hampton v. Guare,
  195 A.D.2d 366 (1st Dep’t 1993) ..............................................................................................4

Kirch v. Liberty Media Corp.,
   No. 04 Civ. 667 (NRB), 2004 U.S. Dist. LEXIS 19228 (S.D.N.Y. Sep. 24,
   2004) ..........................................................................................................................................6

Loftus v. Greenwich Lithographing Co.,
    192 A.D. 251 (1st Dep’t 1920) ..................................................................................................2

Lohan v. Take-Two Interactive Software, Inc.,
   31 N.Y.3d 111 (2018) ................................................................................................................3

Messenger v. Gruner + Jahr Printing & Publishing,
   208 F.3d 122 (2d Cir. 2000)...................................................................................................4, 5

Messenger v. Gruner + Jahr Printing & Publishing,
   94 N.Y.2d 436 (2000) ................................................................................................................5

Mitre Sports International Ltd. v. HBO, Inc.,
   22 F. Supp. 3d 240 (S.D.N.Y. 2014)..........................................................................................9

Onassis v. Christian Dior-New York, Inc.,
   472 N.Y.S.2d 254 (Sup. Ct. N.Y. Cty. 1984) ........................................................................2, 3

Pollnow v. Poughkeepsie Newspapers, Inc.,
   107 A.D.2d 10 (2nd Dep’t 1985) ...............................................................................................8

Spahn v. Julian Messner, Inc.,
   18 N.Y.2d 324 (1966) ................................................................................................................5

Three Amigos SJL Restaurant, Inc. v. CBS News Inc.,
   28 N.Y.3d 82 (2016) ..................................................................................................................6

Toscani v. Hersey,
   271 A.D. 445 (1st Dep’t 1946) ..................................................................................................3




                                                                        iii
             Case 1:20-cv-00123-DLC Document 42 Filed 07/10/20 Page 5 of 15




Welch v. Penguin Books USA, Inc.,
   No. 21756/90, 1991 N.Y. Misc. LEXIS 225 (Sup. Ct. Kings Cty. Apr. 3,
   1991) ..........................................................................................................................................5

Williams v. Citibank, N.A.,
   565 F. Supp. 2d 523 (S.D.N.Y. 2008)................................................................................1, 4, 5

Wolston v. Reader's Digest Association,
   443 U.S. 157 (1979) ...................................................................................................................8

Young v. Greneker Studios, Inc.,
   26 N.Y.S.2d 357 (Sup. Ct. N.Y. Cty. 1941) ..............................................................................3

Statutes

New York Civil Rights Law §51 .....................................................................................................1




                                                                        iv
             Case 1:20-cv-00123-DLC Document 42 Filed 07/10/20 Page 6 of 15




                                       PRELIMINARY STATEMENT

           Plaintiff’s Opposition does not—and cannot—point to any factual allegations that

salvage her claims for invasion of privacy or defamation. As shown in Defendants’ Motion,1

the law simply does not provide the relief Plaintiff seeks. The invasion of privacy claims fail

because Hustlers does not use Plaintiff’s name, portrait, picture or voice, as required by New

York Civil Rights Law §51; is exempted from the statute as a work of fiction; and is protected

by the newsworthiness exception. The defamation claim fails because Hustlers is not “of and

concerning” Plaintiff, or if it is, it is substantially true, and because Plaintiff has not plausibly

alleged fault or damages proximately caused by the movie.

           Throughout the Opposition, Plaintiff relies on conclusory allegations that need not be

considered and are often directly contradicted by documents properly considered on a motion

to dismiss—namely, the movie Hustlers and Plaintiff’s own plea allocution. Plaintiff ignores

the basic rule that, even on a Rule 12 Motion, “[t]he court need not accept as true an allegation

that is contradicted by documents on which the complaint relies.” Williams v. Citibank, N.A.,

565 F. Supp. 2d 523, 527 (S.D.N.Y. 2008) (citation omitted).2

           As Plaintiff has not alleged a viable claim and will not be able to as a matter of law, the

Amended Complaint should be dismissed with prejudice.

I.         PLAINTIFF’S SECTION 51 CLAIMS FAIL AS A MATTER OF LAW.

           A.       Defendants Do Not Use A “Recognizable Likeness” Of Plaintiff.

           Plaintiff does not dispute that Defendants did not use Barbash’s “name, portrait, picture,

or voice” in Hustlers or their promotional materials. See Greene v. Paramount Pictures Corp.,



1
 Capitalized terms not otherwise defined herein shall have the meaning assigned in Defendants’ Memorandum of
Law in Support of their Motion to Dismiss (“Mem.”), Dkt. 36.
2
    Plaintiff does not dispute that these documents are properly considered on a motion to dismiss. See Mem. at 2, n.1.

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           Case 1:20-cv-00123-DLC Document 42 Filed 07/10/20 Page 7 of 15




138 F. Supp. 3d 226 (E.D.N.Y. 2015) (“Merely suggesting certain characteristics of the

plaintiff, without literally using his or her name, portrait, or picture, is not actionable under the

statute.”), aff’d, No. 19-135-cv, 2020 U.S. App. LEXIS 18430, at *7 (2d Cir. June 11, 2020).

Instead, Plaintiff argues that Hustlers impermissibly uses a “recognizable likeness” of Barbash,

under one of two theories: (1) in one scene, Jennifer Lopez’s character strikes a pose similar to

a photograph of Barbash; or (2) press coverage of the movie connected Hustlers to the widely-

publicized prosecution that inspired it. Neither theory is supported by the law.

         When a Section 51 claim is based on the literal image of someone other than the

plaintiff, the relevant question is not “whether some, or even most, people will be reminded of

plaintiff when they see” it, but whether viewers “would be likely to think that this was actually

[plaintiff’s] picture.” Allen v. Nat’l Video, Inc., 610 F. Supp. 612, 624 (S.D.N.Y. 1985). This

rule comes into play in cases, unlike this one, that involve actual advertisements using celebrity

lookalikes to imply a commercial endorsement or deliberately mislead the public. See Ali v.

Playgirl, Inc., 447 F. Supp. 723, 726 (S.D.N.Y. 1978) (image that “strongly suggests” face and

features of Muhammad Ali, with accompanying text referring to “the Greatest,” gave

impression that Ali appeared in ad).3

         Plaintiff’s first theory would therefore apply only if Hustlers viewers were so confused

by the single scene in which Lopez’s Ramona strikes a pose similar to Barbash that they were

unsure who actually appeared in the film, Lopez or Barbash. See Onassis, 472 N.Y.S.2d at

261; Pls. Mem. in Opp. (“Opp.”) at 8, Dkt. 41.4 Plaintiff does not allege that any viewer was


3
 See also Onassis v. Christian Dior-New York, Inc., 472 N.Y.S.2d 254, 261 (Sup. Ct. N.Y. Cty. 1984) (lookalike was
“intended to[], and did, in fact, convey the idea that it was the plaintiff” appearing in the ad), aff’d, 110 A.D.2d 1095
(4th Dep’t 1985); Loftus v. Greenwich Lithographing Co., 192 A.D. 251 (1st Dep’t 1920) (advertisement copied image
of famous actress in her unique costume to suggest she appeared in advertised show).
4
 The Amended Complaint does not provide the referenced photograph. See Decl. of Bruno Gioffre, Jr. at Ex. C, Dkt.
40-4; see also Schell Decl. Ex. A (film) at 1:41:45, Ex. C (New York Post article), Dkts. 37-1, 37-3.

                                                           2
           Case 1:20-cv-00123-DLC Document 42 Filed 07/10/20 Page 8 of 15




ever so confused or that Hustlers involves anywhere near the level of mimicry at issue in Allen,

Ali, or Onassis.5 See Burck v. Mars, Inc., 571 F. Supp. 2d 446, 453 (S.D.N.Y. 2008)

(personifications “do not fall within the literal meaning of ‘portrait’ or ‘picture’”).

         Plaintiff’s alternate theory that there “must” be a recognizable likeness because “the

public and media identified and report on Plaintiff being the individual depicted,” also fails.

See Opp. at 9 (emphasis in original). This argument is a paradigm of attempts to sue for an

unauthorized dramatization of one’s life story, which New York courts have repeatedly

rejected. See Toscani v. Hersey, 271 A.D. 445, 446 (1st Dep’t 1946) (rejecting claim based on

the “portrayal of the plaintiff, and an exploitation of his acts, life and personality”); Mem. at 9-

12. In Onassis, for example, the Court held that the lookalike defendant could not pretend to be

Jackie Onassis in advertisements, but explained that Section 51 does not prohibit actors from

“re-enact[ing] events,” so she was free to “capitalize on the striking resemblance at parties,

television appearances, and dramatic works.” 472 N.Y.S.2d at 261-62. Here, even if Lopez’s

Ramona bore such a striking resemblance to Plaintiff—which she did not—this case would fall

squarely in the permissible second category.

         B.       Hustlers Is A Work Of Fiction And Thus Not Within Section 51’s Reach.

         Works of fiction “do not fall within the narrow scope of the statutory definitions of

‘advertising’ or ‘trade.’” See, e.g., Costanza v. Seinfeld, 279 A.D.2d 255, 255 (1st Dep’t 2001);

Mem. at 12-13. Accepting that well-settled rule, as she must, Plaintiff merely argues that

Hustlers is not a work of fiction. Opp. at 11. This characterization and her claim that



5
  The other cases cited by Plaintiff do not find a recognizable likeness or involve facts that would support Barbash’s
theory. See Lohan v. Take-Two Interactive Software, Inc., 31 N.Y.3d 111, 120-21 (2018) (ruling that digital avatar
was not sufficiently recognizable to allow claim); Young v. Greneker Studios, Inc., 26 N.Y.S.2d 357 (Sup. Ct. N.Y.
Cty. 1941) (ruling that a manikin could constitute a “portrait or picture,” but not ruling whether the manikin at issue
constituted a “recognizable likeness” of the plaintiff).

                                                          3
           Case 1:20-cv-00123-DLC Document 42 Filed 07/10/20 Page 9 of 15




Defendants “depicted plaintiff as accurately as possible” are plainly false. See id.6 Hustlers is

clearly a work of fiction and repeatedly identified as such. Schell Decl. Exs. A, C (identifying

film as fiction inspired by true events). Moreover, Plaintiff’s suggestion that only “[p]urely

fictional works” are protected from Section 51 claims is unsupported by any legal authority.

See, e.g., Hampton v. Guare, 195 A.D.2d 366 (1st Dep’t 1993) (fictional play inspired by real-

life “criminal scam” found not actionable because it was a work of fiction).7

         C.       The Newsworthiness Exception Applies To Hustlers.

         Plaintiff does not dispute that Hustlers discusses subjects of public interest. See Opp. at

12-13. The “newsworthiness exception” thus must apply unless either (1) there is no “real

relationship” between the use of Plaintiff’s likeness in the film and its subject matter or (2) the

movie is an “advertisement in disguise.” See Messenger v. Gruner + Jahr Printing & Publ’g,

208 F.3d 122, 123-24 (2d Cir. 2000) (per curiam).

         Plaintiff does not address either of those factors or Defendants’ arguments that they are

not present here. Mem. at 14-15. Instead, she argues that Defendants cannot argue both that

the movie is a work of fiction and that it is protected by the newsworthiness exception. Opp. at

13. Ironically, she insists that Defendants must take a single, binding position, despite the

many contradictions in her own claims, including her argument that Hustlers “is more . . . a

biopic than a work of fiction.” Opp. at 11. And the law simply does not require this. Both the

New York Court of Appeals and the U.S. Court of Appeals for the Second Circuit have held


6
  It also contradicts Plaintiff’s own statements, filed with her Opposition, for example, Plaintiff’s expression of dismay
that Jennifer Lopez’ character Ramona is “actually misrepresenting me.” See Gioffre Decl. Ex. C at Dkt. 40-5 p. 3;
see also id. at Dkt. 40-7 p. 12 (“I was not a stripper. . . . [T]hat’s not met[.]”).
7
 Plaintiff also contends that Defendants used her “portrait and likeness in connection with their advertisements,” Opp.
at 12, but she can point only to news coverage published by other parties, Gioffre Decl. Ex. C (Dkt. 40-4 to 40-8).
Defendants provided their promotional materials, referenced in the Amended Complaint, and they plainly do not use
Plaintiff name, portrait, picture or voice. Schell Decl. Exs. A, D; Williams, 565 F. Supp. 2d at 527 (“The court need
not accept as true an allegation that is contradicted by documents on which the complaint relies.”).

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          Case 1:20-cv-00123-DLC Document 42 Filed 07/10/20 Page 10 of 15




that even substantially fictionalized works may be protected by the newsworthiness exception.8

See Messenger, 208 F.3d at 123-24 (citing Messenger, 94 N.Y.2d 436).

         Plaintiff concedes that Hustlers relates the events that inspired it with broad, true-to-life

accuracy. See Opp. at 11. Whether, as is unquestionably the case, some aspects of the film are

fictionalized does not matter. The film addresses issues of public concern, and neither of the

factors barring application of the newsworthiness exception here exist. For this and all of the

foregoing reasons, the Court should dismiss Plaintiff’s invasion of privacy claims.

II.      PLAINTIFF’S DEFAMATION CLAIM FAILS AS A MATTER OF LAW.

         Plaintiff’s Opposition fails to identify any factual allegations in her Amended Complaint

that state a defamation claim, relying instead on conclusory allegations that are contradicted by

the movie itself and by Plaintiff’s admissions in her criminal case. See Williams, 565 F. Supp.

2d at 527 (“The court need not accept as true an allegation that is contradicted by documents on

which the complaint relies.” (citation omitted)).

         First, Plaintiff’s Opposition confuses the legal standard for whether a statement is “of

and concerning” a plaintiff with the more general question of whether some viewers understood

Plaintiff to be the inspiration for the Hustlers character. She contends that press outlets or

people who knew her would understand her to be the inspiration for Ramona’s character, Opp.

at 14-15, but the law requires more than mere identification. Welch v. Penguin Books USA, Inc.,

No. 21756/90, 1991 N.Y. Misc. LEXIS 225, at *7 (Sup. Ct. Kings Cty. Apr. 3, 1991)

(“Identification alone is insufficient.”); see Mem. at 18.



8
 Spahn v. Julian Messner, Inc., 18 N.Y.2d 324 (1966), vacated by Julian Messner, Inc. v. Spahn, 387 U.S. 239 (1967),
cited by Plaintiff, does not hold otherwise. It involved a biography of the plaintiff that was “so infected with fiction,
dramatization, or embellishment that it cannot be said to fulfill the purpose of the newsworthiness exception.” See
Messenger v. Gruner + Jahr Printing & Publ’g, 94 N.Y.2d 436, 446 (2000). Plaintiff’s admission that substantial
aspects of Hustlers are true take this case well outside of Spahn.

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          Case 1:20-cv-00123-DLC Document 42 Filed 07/10/20 Page 11 of 15




         Rather, a plaintiff must plausibly allege that “an average viewer would, taking into

account the context in which the remark was uttered, perceive that the speaker was making a

factual statement about the individual.” See Kirch v. Liberty Media Corp., No. 04 Civ. 667

(NRB), 2004 U.S. Dist. LEXIS 19228, at *19, n.15 (S.D.N.Y. Sep. 24, 2004) (internal marks

and citation omitted), aff’d in relevant part, 449 F.3d 388 (2d Cir. 2006). Plaintiff has not

plausibly alleged this, nor can she. Defendants unequivocally explained to viewers that Hustlers

was fiction, merely “inspired by a true story,” and Plaintiff has not alleged any basis to believe a

reasonable viewer would understand the challenged statements in Hustlers to be factual

assertions about her, as opposed to artistic license taken in a fictional story. See Feche v.

Viacom Int'l, Inc., 233 A.D.2d 125, 125 (1st Dep’t 1996) (affirming dismissal where an “average

viewer” would understand the speaker to be “indulging in hyperbole and protected opinion

about the fictional characters that plaintiffs were portraying,” rather than making factual

assertions about the plaintiff).9

         Second, it is undisputed that a defamation claim cannot proceed where the “gist or

substance” of the challenged statements is “substantially true.” See Chau v. Lewis, 771 F.3d

118, 129 (2d Cir. 2014) (quoting Printers II, Inc. v. Prof’ls Publ'g, Inc., 784 F.2d 141, 146-47

(2d Cir. 1986)). See Mem. at 18-22.10 Plaintiff takes issue with the portrayals of Ramona

developing the “recipe” of drugs or mixing, diluting, and testing the drug cocktail “in her home



9
  Plaintiff also contends that this is a jury question, relying on outdated case law from lower courts, see Opp. at 14
(citing Bee Publ'ns, Inc. v. Cheektowaga Times, Inc., 107 A.D.2d 382, 385 (4th Dep’t 1985)), rather than the Court of
Appeals’ clear ruling that “the question of whether an allegedly defamatory statement could reasonably be interpreted
to be ‘of and concerning’ a particular plaintiff is a question of law for the courts to decide.” Three Amigos SJL Rest.,
Inc. v. CBS News Inc., 28 N.Y.3d 82, 86-87 (2016). Where, as here, the statements at issue are clearly not “of and
concerning” the plaintiff, dismissal is appropriate. See id.; Mem. at 17.
10
   Plaintiff does not dispute that the sixth challenged “statement,” the alleged portrayal of Barbash as a “cold person,”
is protected opinion, Mem. at 22-24, and so she has conceded that point. See AT&T Corp. v. Syniverse Techs., Inc.,
2014 U.S. Dist. LEXIS 125256, at *24 (S.D.N.Y. Sep. 8, 2014) (ruling that silence on opposition concedes a point).

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          Case 1:20-cv-00123-DLC Document 42 Filed 07/10/20 Page 12 of 15




where she lived with her child.” Am. Compl. ¶ 44; Schell Decl. Ex. A at 52:30-54:35.11 But

Plaintiff has admitted in sworn testimony to substantially similar behavior, namely, “intentionally

caus[ing] stupor, unconsciousness, and other physical impairment and injury to Victim One by

administering to Victim One, without his consent, a drug, substance and preparation capable of

producing the same.” Ex. G at 6; see also Am. Compl. ¶¶ 13, 16.

         Despite insisting that the challenged portrayals are more serious, Plaintiff’s Opposition

makes no effort to explain why combining drugs is substantially different from (or more serious

than) using them to sedate and steal from patrons. See Mem. 19-22; Birkenfeld v. UBS AG, 72

A.D.3d 566 (1st Dep’t 2019) (allegation that plaintiff “lied to authorities” was substantially the

same as plea to “preparing false forms”).

         Third, Plaintiff fails to identify any factual allegations plausibly suggesting that

Defendants acted with the requisite level of fault, regardless of the applicable standard. See Biro

v. Condé Nast, 807 F.3d 541, 544-45 (2d Cir. 2015); Frascatore v. Blake, 344 F. Supp. 3d 481,

497 (S.D.N.Y. 2018) (dismissing claim for failure to plead facts plausibly suggesting gross

irresponsibility).

         Whether a plaintiff is a limited-purpose public figure turns on “the nature and extent of

[the] individual’s participation in the particular controversy giving rise to the defamation.” Gertz

v. Robert Welch Inc., 418 U.S. 323, 352 (1974). Plaintiff is a limited-purpose public figure with

regard to this story because she sought out publicity in the adult entertainment industry,12 was the


11
  As noted in the Motion, the Complaint does not allege, and the movie does not show, Ramona using or mixing drugs
in front of a child or while a child was in the home; Plaintiff’s objection is simply that the scene occurred in a home
where a child also lived. Mem. at 5, n.2.
12
   Plaintiff attempts to evade the public figure standard by arguing facts not alleged, i.e., that an adult entertainment
host is somehow different than a dancer or that she had avoided publicity prior to the movie, Opp. at 19-20, but she
does not explain this distinction, nor does she address the impact of her role as a criminal ring leader. Defendants also
note that Plaintiff’s allegations and additional facts argued in Opposition are taken as true solely for the purposes of
this Motion. Defendants reserve the right to dispute these claims, if the case proceeds.

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          Case 1:20-cv-00123-DLC Document 42 Filed 07/10/20 Page 13 of 15




ringleader of a widely-publicized criminal conspiracy,13 and was the subject of press reports

about that conspiracy and resulting prosecution for years. See, e.g., Am. Compl. ¶¶ 13, 16-17,

43; Ex. B. Indeed, Plaintiff’s claims rely on the theory that she is so recognizable that Jennifer

Lopez, undoubtedly a public figure, relied on her to gain additional publicity for the film. Id. at

¶ 17 (“Defendants utilized the likeness and character of Plaintiff … to ensure the public knew

that the character played by JLO was, in-fact [sic], Ms. Barbash”); see also id. at ¶¶ 20-22.

         Even if Plaintiff were not a limited purpose public figure, she would still have to allege

facts plausibly suggesting that Defendants “acted in a grossly irresponsible manner” because the

movie unquestionably touches on matters of public concern. Chapadeau v. Utica Observer-

Dispatch, Inc., 38 N.Y.2d 196, 199 (1975) (defining gross irresponsibility as “without due

consideration for the standards of information gathering and dissemination ordinarily followed

by responsible parties”); Pollnow v. Poughkeepsie Newspapers, Inc., 107 A.D.2d 10, 15 (2nd

Dep’t 1985) (“a private person's alleged criminal conduct and the operation of the criminal

justice system with respect to the disposition of the charges … are matters of legitimate public

concern”); see also, Greene v. Paramount Pictures Corp., 138 F. Supp. 3d 226, 236 (E.D.N.Y.

2015) (applying gross irresponsibility standard to claims based on The Wolf of Wall Street, which

“unquestionably touche[d] on a matter warranting public exposition”).14

         Under either standard, Plaintiff’s “[t]hreadbare recitals of the elements of a cause of



13
   Plaintiff argues that commission of a crime does not automatically make one a limited-purpose public figure, Opp.
at 21, but here, Plaintiff does not dispute that she was the leader of a widely-reported criminal conspiracy. This,
combined with Plaintiff’s career in and subsequent attempts to capitalize on the press surrounding her prosecution, is
hardly a situation in which she “was dragged unwillingly into the controversy.” Wolston v. Reader's Digest Ass'n,
443 U.S. 157, 166 (1979); see Opp. at 20 (relying on same).
14
  The Greene court found on a motion to dismiss that, at a minimum, the gross irresponsibility standard applied. Id.
At summary judgment, the plaintiff, who served as a director of a brokerage firm involved in various criminal
activities, conceded that the actual malice standard applied. See Greene, 340 F. Supp. 3d 161, 169 (E.D.N.Y. 2018),
aff’d, 2020 U.S. App. LEXIS 18430, at *7 (2d Cir. June 11, 2020).

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          Case 1:20-cv-00123-DLC Document 42 Filed 07/10/20 Page 14 of 15




action” are insufficient to state a plausible claim for relief. Ashcroft v. Iqbal, 556 U.S. 662, 678

(2009); see Am. Compl. ¶¶ 43, 47-48 (alleging that Defendants acted “in a grossly irresponsible

manner” or “with malice, gross and/or reckless disregard as to the truth or falsity” of the

challenged statements”).15 Plaintiff does not support her conclusory assertions with any factual

allegations, much less facts that would suggest Defendants (or as required, any individual

affiliated with any Defendant) published the challenged “portrayals” with actual knowledge that

they were false or, under the lesser standard, “without due consideration for the standard of

information gathering and dissemination ordinarily followed.” See Chapadeau, 38 N.Y.2d at

196. To the contrary, Defendants produced a fictional movie, “inspired by” a concededly true

story, and even then, the challenged portrayals—that Ramona mixed drugs in her apartment—are

reasonable interpretations of that story.

         Fourth, regarding causation, the Opposition insists that Plaintiff’s conclusory allegations

are sufficient, rather than pointing to any specific factual allegations that would support her

contention that “the statements contained in ‘Hustlers’ have permanently damaged her reputation

in her personal and professional community.” Opp. at 22-23; see Am. Compl. ¶¶ 50-51. The

Opposition also ignores Defendant’s broader point that there is no plausible reason to believe the

alleged falsities in a fictional movie, i.e., Ramona’s involvement in mixing the drug cocktail,

would be the proximate cause of any harm to Plaintiff’s reputation, rather than her admitted

participation in a criminal conspiracy and felony plea to using such drugs to sedate and steal from

her victims. Mem. at 24-25; Schell Decl. Ex. G.



15
   Plaintiff identifies only two federal court cases decided after Iqbal and Twombly, where claims survived motions to
dismiss, and in both, unlike here, the plaintiff had alleged facts plausibly suggesting gross irresponsibility. See Mitre
Sports Int'l Ltd. v. HBO, Inc., 22 F. Supp. 3d 240, 255 (S.D.N.Y. 2014) (plaintiff alleged that defendants were unable
to support the challenged allegations and instead fabricated scenes in documentary film); Goldman v. Reddington, 417
F. Supp. 3d 163, 175 (E.D.N.Y. 2019) (plaintiff alleged that defendant completely fabricated allegation of rape).

                                                           9
        Case 1:20-cv-00123-DLC Document 42 Filed 07/10/20 Page 15 of 15




        Instead, Barbash argues that, because Defendants’ initial recitation of the defamation

standard did not specifically mention causation, she is not required to allege or prove it. See

Opp. at 22. This is plainly incorrect. Defendants’ Motion demonstrated—and Barbash has not

rebutted—that a defamation plaintiff “must allege and prove that her claimed damages are ‘the

direct and well-connected result of a defamatory statement at issue.’” Mem. at 24-25 (quoting

Wilcox v. Newark Valley Cent. Sch. Dist., 129 A.D.3d 1230, 1233 (3rd Dep’t 2015)); see also In

re Actos End-Payor Antitrust Litig., 848 F.3d 89, 97 (2d Cir. 2017) (“Causation in fact is, of

course, a necessary element of any claim for relief[.]” (citation omitted)).

        For each of these independent reasons, Plaintiff’s defamation claim should be dismissed

with prejudice.

                                              CONCLUSION

        For the foregoing reasons, Defendants respectfully request that the Court dismiss

Plaintiff’s Amended Complaint with prejudice, award their costs and fees, and grant such other

and further relief as the Court finds just.

 Dated: July 10, 2020                         BALLARD SPAHR LLP
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